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LAW’ GROUP, P.A.

 

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www.shavitzlaw.com

FACSIMILE TRANSMITTAL COVER SHEET

TO: Frank James McKeoWn, Jr., Esq.

FAX NO.: 561-688-9985

IN RE: Sullivan v. Lana Marks, et al.

FROM: Gregg I. Shavitz, Esq. / Stacey H. Cohen, Esq.
NUMBER OF PAGES: __5_ (Including transmittal coversheet)

DATE TRANSMITTED: August 30, 2007

Frank:
Please find the attached settlement agreement

Stacey

If you do not receive all of the pages, please call back as soon as possible.

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TIME : EBXBEXQ@@? 15:51
NAME : SHAUITZ LAW
FAX : 551-44?-3931
TEL : 551-44?-8883
SER.# : BRUKlJEEB?B?

 

 

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SETTLEMENT AGREEMENT AND
FULL AND FINAL MUTUAL RELEASE OF ALL CLAIMS

l. This Agreement covers all understandings between SAl\/IIRA SULLIVAN
and SUZANNE ST. CLAIRE, (hereinafter referred to as "Plaintiffs") and LANA MARKS
LTD, lNC., a Florida corporation, LANA J. MARKS, individually, (hereinafter
collectively referred to as "Defendants" a term which includes each and every officer,
director, employee, agent, parent corporation or subsidiary, affiliate or division, its
successors, assigns, beneficiaries, servants, legal representatives, insurers and heirs).

2. For and in consideration of the promises outlined in Paragraph 3 of this
Agreement, Plaintiffs agree as follows:

A. To settle any and all claims and actions of any nature whatsoever between
Plaintiffs and Defendants, and release and forever discharge Defendants,
and any and all of their officers, directors, employees, administrators, and
successors, of and from all and any manner of actions, causes of actions,
suits, rights to attorney fees, debts, claims and demands whatsoever in law
or equity by reason of any matter, cause or thing whatsoever, from the
beginning of the world to the effective date of this Agreement, and
particularly, but without limitation of the foregoing general terms, by
reason of any claims or actions arising from Plaintiffs’ previous
employment or separation from employment with Defendants, or related to
the transactions or matters which are the subject matter of the lawsuit Case
No.: 07-80138-ClV-MlDDLEBROOKS/JOHNSON pending in the United
States District Court for the Southern District of Florida, including without
limitation any claims arising from any alleged violation of any and all
federal, state, or local laws, including the Employee Retirement lncome
Security Act of 1974, the Civil Rights Acts of 1866, 1871, 1964, and l99l,
the Rehabilitation Act of 1973, the Fair Labor Standards Act, the Equal Pay
Act of 1963, the Vietnam Era Veterans' Readjustment Assistance Act of
1974, the Occupational Safety and Health Act, the lmmigration Reform and
Control Act of 1986, the Americans with Disabilities Act, the Age
Discrimination in Employment Act of l967, the Older Workers' Benefit
Protection Act, and the Florida Civil Rights Act, and all other rights and
claims under all other federal, state and local provisions and all other
statutory and common law causes of action, and including any attorney’s
fees collectible by or owed to Plaintiffs, from the beginning of the world to
the effective date of this Agreement.

B. To dismiss Case No.:07-80138-ClV-MIDDLEBROOKS/ JOHNSON, pending
in the United States District Court for the Southern District of Florida, with
prejudice

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C. To agree and acknowledge that this settlement is the compromise of a
disputed claim and does not constitute an admission by Defendants of any
violation of any federal, state, or local statute or regulation, or any violation
of any of Plaintiffs’ rights or of any duty owed by Defendants to Plaintiffs.

D. That the below-referenced amount paid by Defendants represents a sum to
which Plaintiffs would not be entitled absent this Agreement.

3. F or and 1n consideration for the performance of the covenants of Plaintiffs
in Paragraph 2 of this Agreement, Defendants agree to pay on or before September l0,
2007 the total amount of Twenty Thousand Dollars and No Cents ($20 000. 00) payable to
Shavitz Law Group, P.A. (Tax ID # XX-XXXXXXX).

4. ln exchange for the consideration above, Defendants release Plaintiffs from
any and all claims, charges, actions and causes of action of any kind or nature that
Defendants once had or now has, whether arising out of Plaintiffs’ employment, or
otherwise, and whether such claims are now known or unknown to Defendants from the
beginning of the world to the date of payment, per paragraph No. 3 above, including but
not limited to Defendants’ Verified Set-fo and Counterclaim, Case No.: 07-80138-CIV-
MlDDLEBROOKS/JOHNSON, filed on July 6, 2007, Docket Entry No. 27. Such is the
general release from Defendants to Plaintiff.

5. Defendants agree not to disclose the existence or contents of this
Agreement to any prospective employer of either Plaintiff. If Defendants are contacted
by any prospective or current employer of either Plaintiff, it may confirm dates of
employment only, and job position, but shall not make any disparaging remarks about or
against Plaintiffs, or one of them.

6. The Plaintiffs acknowledge that maintaining the Defendants’ good
reputation in the community is of paramount importance to the Defendants. Accordingly,
the Plaintiffs agree that they will not disparage or encourage or induce others to disparage
the Defendants by any type of communication, whether verbally, in writing, through
gesture or other non-verbal means, or otherwise.

7. In the event that Plaintiffs, or one of them, or Defendants commence an action
for damages, injunctive relief, or to enforce the provisions of the Agreement, the
prevailing party in any such action shall be entitled to an award of its reasonable
attorney's fees and all costs including appellate fees and costs, incurred in connection
therewith as determined by the court in any such action.

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8. Plaintiffs and Defendants agree that this Settlement Agreement is entered into
knowingly and voluntarily, after having the opportunity to fully discuss it with an
attorney. Having had the opportunity to obtain the advice of legal counsel to review,
comment upon, and redraft the a.greement, the parties agree that the Agreement shall be
construed as if the parties jointly prepared it so that any uncertainty or ambiguity shall
not be interpreted against any one party and in favor of the other. '

9. This Agreement supersedes all prior agreements and understandings between
Plaintiff and Defendants. No cancellation, modification, amendment, deletion, addition,
or other changes in the Agreement or any provision hereof or any right herein provided
shall be effective for any purpose unless specifically set forth in a subsequent written
agreement signed by both Plaintiffs and an authorized representative of Defendants.

lO. Should any provision of this Agreement be declared or determined by any
court of competent jurisdiction to be illegal or invalid, the validity of the remaining parts,
terms or provisions shall not be affected thereby and said illegal or invalid part, term or
provision shall be deemed not to be a part of the Agreement and all other valid provisions
shall survive and continue to bind the parties.

ll. This Agreement may be executed in counterparts, which when taken
together shall constitute a binding agreement A copy or facsimile of this Agreement
shall be fully binding upon the parties.

12. The law governing this Agreement shall be that of the United States and the
State of Florida. ln the event of any dispute concerning this Agreement the prevailing
party shall be entitled to recover from the non-prevailing party its attorney’s fees and

 

 

costs.
DATE: Signature:
SAMIRA SULLIVAN
DATE: Signature:
SUZANNE ST. CLAIRE
DATE: Signature: _

 

Authorized Representative of
LANA MARKS LTD., lNC.

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PRINT NAME

DATE: Signature:

 

LANA J. MARKS

